                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE


 UNITED STATES OF AMERICA,                           )
                                                     )
                Plaintiff,                           )
                                                     )
 v.                                                  )           No. 3:07-CR-42
                                                     )           (Phillips / Guyton)
 WALTER HOLT,                                        )
                                                     )
                Defendant.                           )


                                 MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 § 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate. This matter is before the Court upon Defendant Walter Holt’s Motion to

 Withdraw Motions Earlier Filed [Doc. 104].

        Defendant Holt has filed one motion, Motion to Join Certain Motions Filed by Co-

 Defendants [Doc. 61], which was granted in part and denied in part by this Court’s Order [Doc. 66]

 entered June 7, 2007. Mr. Holt’s request to join Co-Defendant Todd Douglas’ Motion for

 Designation as Complex [Doc. 38] was denied as moot. Mr. Holt’s request to adopt Co-Defendant

 Douglas’ Motion to Determine Existence of Conspiracy [Doc. 46] was granted. Thereafter, the

 Court entered a ruling on Motion to Determine Existence of Conspiracy [Doc. 46] by Order [Doc.

 103] entered July 31, 2007.




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       Accordingly, Walter Holt has no other motions pending before the Court and his Motion to

 Withdraw Motions Earlier Filed [Doc. 104] is DENIED as moot.

       IT IS SO ORDERED.

                                                  ENTER:


                                                       s/ H. Bruce Guyton
                                                  United States Magistrate Judge




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